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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )                   8:02CR85
                                              )
              v.                              )
                                              )
RAMON MENDOZA-MESA, RAMIRO                    )           REASSIGNMENT ORDER
PINEDA,                                       )
                                              )
                     Defendants.              )
                                              )


       IT IS ORDERED that, in the interest of judicial economy, this case is reassigned

to District Judge Joseph F. Bataillon for all disposition matters.

       DATED this 22nd day of September, 2005.

                                             BY THE COURT:



                                             s/ Joseph F. Bataillon
                                             JOSEPH F. BATAILLON
                                             UNITED STATES DISTRICT JUDGE
